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                          IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF PENNSYLVANIA

     In re:                                                           Bankruptcy Case No: 18-23979-GLT

     LAWSON NURSING HOME, INC.,1                                      Chapter 11

                      Debtor.

     WILLIAM G. KRIEGER, CHAPTER 11                                   Docket No.
     TRUSTEE OF LAWSON NURSING HOME,
     INC.,
                                                                      Related Docket Nos. 242, 243, 258, 268,
                      Movant,                                         314, 316, and 328
     v.
                                        Hearing Date & Time: September 27, 2019
     THE HUNTINGTON NATIONAL BANK,      at 10:00 a.m. (prevailing Eastern Time)
     JOHNSON PHARMACEUTICAL
     SERVICES, INC., BFS CAPITAL,       Response Date: September 20, 2019
     BRIDGEPORT CAPITAL FUNDING, LLC,   by 4:00 p.m. (prevailing Eastern Time)
     EVEREST BUSINESS FUNDING,
     ALLEGHENY COUNTY TREASURER,
     WEST JEFFERSON HILLS SCHOOL
     DISTRICT, JEFFERSON HILLS BOROUGH,
     COMMONWEALTH OF PENNSYLVANIA,
     PENNSYLVANIA DEPARTMENT OF
     REVENUE, PENNSYLVANIA
     DEPARTMENT OF HUMAN SERVICES,
     PENNSYLVANIA DEPARTMENT OF
     HEALTH, INTERNAL REVENUE
     SERVICE, U.S. DEPARTMENT OF
     HEALTH AND HUMAN SERVICES,
     CENTERS FOR MEDICARE AND
     MEDICAID SERVICES, THE OFFICE OF
     THE UNITED STATES TRUSTEE, BANK
     DIRECT CAPITAL FINANCE, COFACTOR,
     LLC, ATLAS ACQUISITIONS, LLC,
     ACCELERATED CARE PLUS LEASING,
     INC., AND RICOH USA, INC.

                      Respondents.




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   The Debtor in this case along with the last four digits of its federal tax identification number is Lawson Nursing Home, Inc.
 (5754)

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  NOTICE OF DESIGNATION OF JEFFERSON HILLS HOLDINGS, LLC
                 AS STALKING HORSE BIDDER
         NOTICE IS HEREBY GIVEN that pursuant to paragraph D of the Order: (I) Approving
 Bid Procedures for the Sale of Substantially all of the Debtor’s Assets; (II) Authorizing and
 Scheduling an Auction: (III) Scheduling Hearing for Approval of the Sale of Assets Free and Clear
 of Liens, Claims and Encumbrances and the Assumption and Assignment of Certain Executory
 Contracts and Unexpired Leases to the Successful Bidder; (IV) Approving Certain Deadlines and
 the Form, Manner, and Sufficiency of Notice; and (V) Granting other Related Relief [Dk. No. 328]
 (the “Bid Procedures Order”), the Chapter 11 Trustee has selected Jefferson Hills Holdings, LLC
 as the Stalking Horse Bidder for the sale of substantially all of the Debtor’s assets (the “Stalking
 Horse Bidder”).
        Pursuant to Section VII of the bid procedures attached as Exhibit 1 to the Bid Procedures
 Order (the “Bid Procedures”), the Stalking Horse Bidder is a Qualified Bidder (as that term is
 defined in the Bid Procedures).
        The terms and conditions of the Stalking Horse Bidder’s bid are contained in the Stalking
 Horse APA (as that term is defined in the Bid Procedures) attached to this Notice as Exhibit A and
 incorporated by reference as if fully set forth herein.
                                               LEECH TISHMAN FUSCALDO & LAMPL, LLC

                                                      By: /s/ John M. Steiner________________
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                                                      Counsel for William G. Krieger, the Chapter
                                                      11 Trustee of Lawson Nursing Home, Inc.




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